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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CAYMAN SECURITIES CLEARING
AND TRADING LTD; THE HURRY
FAMILY REVOCABLE TRUST;
SCOTTSDALE CAPITAL ADVISORS
CORPORATION; and ALPINE SECURITIES
CORPORATION,

       Plaintiffs,

v.                                                          Case No. 8:18-cv-02869-VMC-CPT

CHRISTOPHER FRANKEL,

       Defendant.
                                                      /

      FRANKEL’S NOTICE REGARDING MAY 7, 2019 DISCOVERY HEARING

       The defendant, Christopher L. Frankel, through counsel, states that in addition to the

documents cited in his motion to compel (Doc # 46) and his response (Doc. #44) to the plaintiffs’

motions to compel (Docs ## 40, 41), Frankel will also rely on the following documents during

the discovery hearing set for May 7, 2019.

       1.      Frankel’s response (attached as Exhibit 1) to the plaintiff’s interrogatories,

including Frankel’s objection to the plaintiffs’ definition of “Identify,” which the plaintiffs did

not present in connection with their motion to compel.

       2.      The parties’ case management report (Doc. # 25), which states that “[t]he parties

are discussing a Confidentiality Agreement concerning discovery.” (Id. at 7). Frankel’s counsel

insisted on including this statement instead of a statement that “the parties agree to prepare a

mutually agreeable confidentiality agreement” because Frankel’s counsel anticipated issues with

entering a discovery confidentiality agreement.




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       3.      An email (attached as Exhibit 2) in which Frankel’s counsel informed the

plaintiffs’ counsel that Frankel would not agree to a discovery confidentiality agreement.

       4.      The clerk’s minutes from the hearing on April 26, 2019 (Doc. # 50), which reflect

this Court’s order dismissing the amended complaint without prejudice.



Dated: May 6, 2019                      By:   /s/ Harold Holder
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 6, 2019, all counsel of record who consented to
electronic service are being served with a copy of this document via the Court’s CM/ECF
system. I further certify that I mailed the foregoing document and the notice of electronic filing
by first-class mail to any non-CM/EFC participants:

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